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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08
     UNITED STATES OF AMERICA,            )
09                                        )
                 Plaintiff,               )            Case No. CR09-31-MJP
10                                        )
           v.                             )
11                                        )
     LUCIO CAMARILLO, JR.,                )            DETENTION ORDER
12                                        )
                 Defendant.               )
13   ____________________________________ )

14
     Offense charged:
15

16           COUNT 1:       Conspiracy to Distribute a Controlled Substance, in violation of 21
                            U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(B) and 846
17

18 Date of Detention Hearing:      February 24, 2009

19           The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

20 based upon the factual findings and statement of reasons for detention hereafter set forth,

21 finds:

22          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23           (1)    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

24                  defendant is a flight risk and a danger to the community based on the nature of

25                  the pending charges. Application of the presumption is appropriate in this

26                  case.


     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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01          (2)     Defendant has stipulated to his continued detention, but reserves the right to

02                  contest his continued detention if there is a change in circumstances.

03          (3)     There are no conditions or combination of conditions other than detention that

04                  will reasonably assure the appearance of defendant as required or ensure the

05                  safety of the community.

06          IT IS THEREFORE ORDERED:

07          (1)     Defendant shall be detained pending trial and committed to the custody of the

08 Attorney General for confinement in a correctional facility separate, to the extent practicable,

09 from persons awaiting or serving sentences or being held in custody pending appeal;

10          (2)     Defendant shall be afforded reasonable opportunity for private consultation

11 with counsel;

12          (3)     On order of a court of the United States or on request of an attorney for the

13 government, the person in charge of the corrections facility in which defendant is confined

14 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

15 connection with a court proceeding; and

16          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

17 counsel for the defendant, to the United States Marshal, and to the United States Pretrial

18 Services Officer.

19          DATED this 24th day of February, 2009.

20

21
                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
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     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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